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     TASHA PARIS CHALFANT (SBN 207055)
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     ELENA GUTIERREZ
 6

 7                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9

10                                                  )       No. 2:14-CR-00333 GEB
     UNITED STATES OF AMERICA,
                                                    )
11                                                  )       STIPULATION REGARDING TIME
            Plaintiff,                              )       SERVED AND REQUEST FOR
12                                                  )       DEFENDANT’S RELEASE; [PROPOSED]
     v.                                             )       FINDINGS AND ORDER
13                                                  )
     ELENA GUTIERREZ,                               )
14                                                  )
                                                    )
15          Defendant.                              )
                                                    )
16                                                  )
                                                    )
17

18                                          STIPULATION
19          Plaintiff United States of America, by and through its counsel of record Assistant United

20   States Attorney JUSTIN LEE, and the Defendant, ELENA GUTIERREZ by and through her
21
     counsel of record TASHA CHALFANT, hereby stipulate and request that the Court make the
22
     following findings and Order as follows:
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            1.        Ms. GUTIERREZ was arrested on this matter September 30, 2014.
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25          2.        She has remained in continuous custody since September 30, 2014.

26          3.        On August 25, 2017, the Court sentenced Ms. GUTIERREZ to 36 months
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     incarceration.
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            4.        According to Bureau of Prisons, they calculate approximately 52 days credit off

                                                        1
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     per calendar year of time served.
 1

 2          5.          By this stipulation, the government and defendant agree Ms. GUTIERREZ is

 3   “time served” on her 36 months sentence and should be released from custody. Plaintiff does not
 4
     oppose this request.
 5
            All counsel have reviewed this proposed order and authorized Tasha Chalfant to sign it
 6

 7
     on their behalf.

 8   IT IS SO STIPULATED.
 9   Dated: August 28, 2017                                 by:     /s/Tasha Chalfant for
10
                                                                    JUSTIN LEE
                                                                    Assistant U.S. Attorney
11                                                                  Attorney for Plaintiff
12
     Dated: August 28, 2017                                 by:     /s/Tasha Chalfant
13                                                                  TASHA CHALFANT
                                                                    Attorney for Defendant
14                                                                  ELENA GUTIERREZ
15
                                                  ORDER
16

17
            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
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     Ms. GUTIERREZ should be deemed time served and released from custody.
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     IT IS SO FOUND AND ORDERED.
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     Dated: August 29, 2017
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